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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
STEPHEN TAMMARO and CLAIRE       JURY TRIAL DEMANDED
TAMMARO (H/W)
13 Reservation Trail
Media, PA 19063                  CIVIL ACTION
                       Plaintiff
     v.

LEE TRANSPORT SYSTEMS LLC                No.
228 Garden Road
Pittsgrove Township, NJ 08318
GARDEN LEASING INC.
228 Garden Road
Pittsgrove Township, NJ 08318
                              Defendants
                                  CIVIL ACTION COMPLAINT
PARTIES
1.      Plaintiffs Stephen and Claire Tammaro (h/w) are adult individuals residing at the above-

captioned address.

2.      Defendant Lee Transport Systems, LLC is an incorporated business entity with a

principal place of business at the above-captioned address.

3.      Defendant Garden Leasing, Inc. is an incorporated business entity with a principal place

of business at the above-captioned address.

4.      At all times relevant, Defendants Lee Transport Systems, LLC and Garden Leasing, Inc.

(collectively referred to as “Defendants”) owned and/or possessed, controlled and/or maintained

the tractor trailer that caused this incident.

5.      At all relevant times hereto, Defendants Lee Transport Systems, LLC and Garden

Leasing, Inc. were acting by and through their duly authorized agents, servants, workmen, and

employees--all of whom were acting in the course and scope of their employment and in

furtherance of Defendants’ business and affairs—including truck driver Jeffrey Marques.
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BASIS FOR JURISDICTION and VENUE

6.        Plaintiffs are domiciled in the Commonwealth of Pennsylvania and Defendants’ principal

place of business and citizenship are in the state of New Jersey.

7.        More so, the amount in controversy is well in excess of $75,000.

8.        Because there is complete diversity and an amount in controversy in excess of $75,000,

under 28 USC Section 1332, this Court has original jurisdiction over this civil action.

9.        Plaintiffs are domiciled in the Eastern District of Pennsylvania, which is also where the

incident occurred, and as such venue is proper in this District pursuant to 28 USC Section 1391

(b)(1).

FACTS

10.       At all relevant times, Defendants’ driver, Mr. Marques, was operating a tractor trailer

(2018 Red CXU with a NJ license plate).

11.       At all times relevant hereto, Mr. Tammaro was lawfully operating his Honda Civic.

12.       On or around September 6, 2018, Mr. Tammaro was driving straight on I-95 South in

Delaware County, PA (around mile marker 4.4), when suddenly and without warning,

Defendants’ driver’s (Mr. Marques) truck rear-ended and/or side-swiped Mr. Tammaro’s vehicle

causing it to crash into a barrier and be totaled.

13.        Mr. Marques merged from the right to left lane without clearance and even admitted that

he didn’t see Mr. Tammaro’s vehicle. Mr. Tammaro’s vehicle was totaled and he suffered

serious injuries.

14.       Full tort applies because, among other things, the vehicle of Mr. Marques is registered

and from New Jersey, and his injuries are serious and permanent.
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INJURIES

15.    As a direct and proximate result of this incident and Defendants’ negligence, Plaintiff

sustained severe and permanent injuries, including disc herniation at L5-S1 requiring epidural

injection(s) and/or surgery, S1 radiculopathy, low back pain that spreads to the left hip/leg with

tingling of the left foot; right neck and trapezius pain, pain at the base of right finger, lumbar back

pain, injuries requiring months of physical therapy and chiropractic treatment, and PTSD and other

forms of mental injuries associated with this incident, among other things.

16.   As a result of the negligence and carelessness of Defendants, Plaintiff was caused to suffer

serious and permanent personal injuries, severe pain, discomfort, loss of sleep, stress, distress,

embarrassment, humiliation, emotional anguish and suffering. Plaintiff is still receiving medical

treatment and will require treatment and physical therapy into the future.

17.    As a further result of the incident and Defendants’ negligence, Plaintiff has, may and will

in the future continue to suffer great pain and extreme agony, the loss of life’s pleasures, and has

been and will in the future be hindered and prevented from attending to his usual daily duties and

activities, as well as household chores. He also suffers a loss of wages and future earning

capacity.

18.   As a further result of this incident and Defendant’s negligence, Plaintiff has been and

continues to be obliged to receive medical attention and care and to expend various sums of

money and incur diverse expenses for the severe injuries which he has suffered, and he will be

obliged to continue to make medical, hospital, surgical and other expenditures for an indefinite

time in the future, all to his great and continuing detriment and loss.

19.    As a direct and sole result of this accident, Plaintiff has and will hereinafter incur other
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financial expenses, damages and/or losses, including but not limited to medical expenses and

assistance with ADL’s, as well as further non-economic losses, and will also continue to sustain

medical bills, surgical costs, hospital charges for the remainder of his life, all to his great and

continuing detriment and loss.

                               COUNT I – NEGLIGENCE
 PLAINTIFF STEPHEN TAMMARO v. DEFENDANTS LEE TRANSPORT SYSTEMS,
                           LLC AND GARDEN LEASING, INC.
20. Plaintiff hereby incorporates by reference the allegations contained above as though the

same were set forth at length.

21.   The negligence of Defendants Lee Transport Systems, LLC and Garden Leasing, Inc.

(including their employee/agent Mr. Marques) consisted, inter alia, of the following:

       (a) failing to have his vehicle under such control as to be able to stop;

       (b) failing to keep alert and maintain a proper watch for the conditions of the roadway;

       (c) failing to apply his brakes in sufficient time to avoid striking the Plaintiff’s vehicle;

       (d) failing to travel at a safe speed;

       (e) failing to yield the right-of-way to Plaintiff’s vehicle;

       (f) failing to keep a proper watch for the presence of other motor vehicles on the roadway;

       (g) failing to have clearance when merging to the left lane;

       (h) failing to see Mr. Tammaro’s vehicle;

       (i) failing to properly select, retain, train and supervise Mr. Marques;

       (j) failing to have proper policies in place;

       (k) failure to drive his vehicle with due regard for the roadway and traffic conditions which

       were existing and of which he was or should have been aware;

       (l) failure to keep proper and adequate control over his vehicle;

       (m) operating said vehicle at an excessive rate of speed under the circumstances;
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(n) operating said vehicle at an excessive rate of speed in light of the weather and/or
visibility conditions which were then and there existing;

(o) operating said vehicle at an excessive rate of speed in light of the size and weight of the
vehicle;

(p) not watching or looking where said vehicle was being operated;

(q) failing to watch the road in front of said vehicle;

(r) failing to have said vehicle under proper control;

(s) failing to have said vehicle under proper control when approaching traffic ahead of said
vehicle;

(t) operating said vehicle so as to be unable to stop within the assured clear distance ahead;

(u) failing to allow an adequate stopping distance in light of the weather and/or visibility
conditions then and there existing;

(v) failing to allow an adequate stopping distance in light of the size and weight of the
 vehicle;

(w)failing to exercise extreme caution in light of the weather and/or visibility conditions
 then and there existing;

(x) failing to discontinue operation of his vehicle in light of the hazardous conditions;

(y) failing to have the brakes and braking mechanism on said vehicle in proper working
 order and/or in failing to properly, promptly and adequately operate the brakes and braking
 mechanism of said vehicle;

(z) operating said vehicle in such a careless and negligent manner so as to cause or allow
 same to run into, strike and collide with the Plaintiff’s vehicle;

(aa) failing to stop, turn aside said vehicle or take other appropriate action so that the
 collision would be avoided;

(bb) failing to respect the rights of the Plaintiff to the use of the roadway;

(cc) operating said vehicle while experiencing fatigue or any other cause which impaired
Defendants’ ability to safely operate said vehicle;

(dd) failing to adhere to rest requirements for operation of a vehicle such as said vehicle;

(ee) operating said vehicle while unfit to do so;
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      (ff) operating said vehicle in violation of the Pennsylvania Motor Vehicle Code including
      75 Pa. C.S.A. 3361 (Assured clear distance/driving at a safe speed), 3362(Maximum speed
      limits), 3310 (Following too closely), 3714 (Careless driving), 3736, (Reckless driving);

      (gg) operating said vehicle in violation of federal law and regulations including: 392.3-5
      (ill or fatigued drivers, drugs and other substances and alcohol), 392.14 (Hazardous
      conditions; extreme caution), Part 393 subpart C (Brakes), 395.1 through 395.8, 395.15
      and 385.16 (Hours of Service), and/or Part 396(Inspection, repair and maintenance);

      (hh) failing to operate Defendant’s vehicle in such a manner as to maintain an assured clear
      distance ahead;

      (ii) following traffic in front of him too closely;

      (jj) operating the subject vehicle with insufficient tires and/or treads given the weather
      conditions then and there existing;

      (kk) negligently hiring and/or retaining Mr. Marques;

      (ll) failing to adequately train Mr. Marques;

      (mm) failing to adequately supervise Mr. Marques;

      (nn) failing to properly maintain the subject vehicle;

      (oo). permitting or requiring the subject vehicle to be operated under the weather and/or
      visibility conditions there and then existing.

22.     As a result of the negligence and carelessness of the Defendants, Plaintiff suffered the

injuries listed in paragraphs 15-19, above.

                              COUNT II – LOSS OF CONSORTIUM
                    PLAINTIFF CLAIRE TAMMARO v. ALL DEFENDANTS
23.     Plaintiff incorporates by reference the allegations set forth in all previous

paragraphs as if the same were set forth at length herein.

24.     Plaintiff Claire Tammaro is the wife of Plaintiff Stephen Tammaro.

25.     As a direct and proximate result of the negligence of all defendants, Mrs. Tammaro has

been deprived of the love, companionship, enjoyment of life and consortium

of her husband for a great period of time and will be deprived of the
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   same for an indefinite time in the future, all to her great detriment and loss for which she

   claims reimbursement.

RELIEF SOUGHT

  26.   Plaintiffs demand judgment against Defendants for compensatory damages and a sum

  in well in excess of Seventy-Five Thousand ($75,000) Dollars for injuries and damages listed

  in paragraphs 15-19, above, interest, and for all other relief for which the Court deems

  appropriate.


                                                       STROKOVSKY LLC

                                                     By: /s/ Jordan Strokovsky
  Date: July 8, 2020                                    JORDAN STROKOVSKY, ESQUIRE
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